Case 2:05-cr-20067-BBD Document 21 Filed 06/30/05 Page 1 of 4 Page|D 24
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IN THE UNITED sTATEs DISTRICT COURT 00
FOR THE WESTERN I)ISTRICT 0F TENNESSEE 2005 JUN 29 PH le 05
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UNITED sTATEs oF AMERICA, * d£M§:l)i;?ihi}i)lm-t
W,'DOF T~ ._ lewis
Plaintiff, *
v, * Cr. No. 05-2 §§ g
GREGORY REED, *

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93 =S Hd 08 Nllf` 90

‘ §§z
Defendant. * "” §

 

UNOPPOSED MOTION TO BE PERMIT'I`ED TO WAIVE
PERSONAL APPEARANCE AT REPORT DATE

 

Comes now the defendant, Gregory Reed, by and through his counsel, Edwin A. Perry, and

respectfully requests this Honorable Court pennit him to Waive his personal appearance at the report

date in the above cause, scheduled for Thursday, June 30, 2005 , at 9:00 a.m. In support thereof, Mr.

Reed states unto the Court that:

l.

Upon the request of the parties, a change-of-plea'hearing has been set for Thursday, July 7,
2005, at 3 :00 p.rn. in this cause. Accordingly, there is nothing further to report at this tirne.
Mr. Reed will execute a waiver, Which will submitted separately.

Defense counsel conferred With Assistant United States Attorney Tim DiScenza, and he has

no objection to the instant motion.

Wherefore, premises oonsidered, Mr. Reed, respectfully moves this Honorable Court to

permit him to Waive his personal appearance at the report date, currently set for Thursday, June 30,

at 9:00 a.rn.

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ERN|CE BOUIE DONALD
U. S. DISTRICT JUDGE

'00

Case 2:05-Cr-20067-BBD Document 21 Filed 06/30/05 Page 2 of 4 Page|D 25

Respectful]y submitted,

STEPHEN SH_ANKMAN
FEDERAL PUBLIC DEFENDER

Edmn A. Peny /
Assistant Federal Defender
200 Jef}`erson Ave., Suite 200
Memphis, TN 38103

(901) 544-3895

CERTIFICATE OF SERVICE

 

I, Edwin A. Perry, certify that I have this date delivered a true copy of the foregoing Motion
to be Permitted to Waive Personal Appearance at Report to Mr. Tim DiScenza, Assistant Um'ted
States Attorney, Clif}`ord Davis F ederal Office Building, Suite 800, 167 North Main Street,

Memphjs, Tennessee, 38103.

THIS the j 971/ day of June 2005.

z//J

Edwin A. Perry
Assistant F ederal Defender/

Case 2:05-Cr-20067-BBD Document 21 Filed 06/30/05 Page 3 of 4 Page|D 26

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

VVESTERN DIVISION
UNITED STATES OF AMERICA, *
Plaintiff, *
V. * Cr. No. 05-20067-D
GREGORY REED, *
Defendant. *

 

ORDER GRANTING DEFENDANT'S MOTION TO WAIVE
APPEARANCE AT REPORT DATE

 

The Defendant is set for a report date before the Court in the above-captioned matter for
Thursday, June 30, 2005, at 9:00 a.m.

For good cause shown, the Defendant’s request to waive his appearance at the above-listed
report date set is hereby GRANTED.

The Defendant shall not be required to appear at the above report date and shall remain on
his present bond.

It is so ORDERED. This the day of 2005.

 

Honorable Bernice Donald
United States District Judge

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CR-20067 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

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Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Honorable Bernice Donald
US DISTRICT COURT

